                     Case 1:02-cr-05094-LJO Document 231 Filed 08/26/08 Page 1 of 2
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
            MAXIMIANO BARRERA III
                      (Defendant’s Name)                                  Criminal Number: 1:02CR05094-005


                                                                          John Garland
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) One, Four, and Five as alleged in the violation petition filed on 06/11/2008.
[U] adm itted guilt to violation of charge(s) Two as alleged in the violation petition filed on 07/18/08 .
[]  was found in violation of condition(s) of supervision as to charge(s)    after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
CHARGE ONE                           USE OF A CONTROLLED SUBSTANCE                           February 4, 2008
CHARGE FOUR                          FAILURE TO COMPLY W ITH DRUG                            April 24, 2008
                                     TESTING
CHARGE FIVE                          FAILURE TO COMPLY W ITH THE                             April 24, 2008
                                     CONDITION OF HOME CONFINEMENT


CHARGE TW O                          FAILURE TO OBEY ALL LAW S                               July 8, 2008

The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 04/14/03 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charge(s) Two and Three in the violation petition filed on 06/11/08 are dism issed. Charge(s) One and Three in
         the violation petition filed on 7/18/08 are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                           August 15, 2008
                                                                                    Date of Im position of Sentence

                                                                                        /s/ Lawrence J. O’Neill
                                                                                      Signature of Judicial Officer

                                                                       LAW RENCE J. O'NEILL, United States District Judge
                                                                               Nam e & Title of Judicial Officer

                                                                                             August 26, 2008
                                                                                                 Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               1:02CR05094-005                                                                 Judgment - Page 2 of 2
DEFENDANT:                 MAXIMIANO BARRERA III



                                                        IMPRISONMENT
        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for 10
m onths as to the Petition filed on 6/11/08 and 10 m onths as to the Petition filed on 7/18/08, to run concurrent, for a total
term of 10 m onths .

Lom poc, CA




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated in a California facility, but only insofar as this accords
         with security classification and space availability.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
